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The Honorable Leo T. Sorokin
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 02210

RE: Ross McLellan

Dear Your Honor,

My name is Adam Esposito, and I’m writing to shed some light on my relationship with Ross which
has spanned many years. I live in New York City, and grew up in northern New Jersey with Ross’
brother-in-law Pete McGrath. Pete and I went to high school and college together, and shared a
first apartment when we first moved into the city back in 1998. I work in finance, and in addition
to my personal relationship with Ross which has grown from all the McLellan family events I’ve
attended with Pete, I’ve crossed paths with him professionally as well which has certainly
bolstered our friendship.

I’ve had a respectable career thus far, but have undoubtedly had moments when I’ve either been
out of work or needed help with an introduction or reference in order to make the next logical
step forward. Each and every time I’ve reached out to Ross for help, he has responded
energetically and has either put me in touch with the relevant team / firm (if he had a
relationship) or put in a good word for me where appropriate. In no instance was he the
beneficiary from any action he took on my behalf, and conversely he put himself out in an effort
to help me. I can’t count the number of instances I’ve called him for advice, and he always took
the time to speak with me and provide his counsel.

I know from Pete that Ross is a devoted and loving father of four young kids with his wife Lisa.
He is constantly at hockey practices, baseball scrimmages, shuttling his various kids back and
forth per their active schedules. His most recent venture Harbor Analytics was much closer to
home vs. his prior role at State Street, and allowed Ross to spend more time with his family which
I know he loved. Ross’ folks passed away pretty recently, and I know his wife’s parents in NJ are
also dealing with certain health issues. Throughout all of these challenges as well as this trial
process, Ross has tried to remain upbeat and continue to be a pillar of strength for his family.

Should you have any questions or be interested in more detail on my relationship with Ross, I am
more than willing to discuss.

Much appreciated,



Adam Esposito
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The Honorable Leo T. Sorokin                           July 31, 2018
U.S. District Court
John Joseph Moakley Court
1 Court Way
Boston, MA 02210

Re: Ross McLellan


Dear Judge Sorokin,

    I am writing to you in regards to Ross McLellan. I have known Ross since he was 18
years old and have the pleasure of watching grow up from a young man in his first year
of college into a husband, father, and role model for his children. I have been married to
Ross’s sister for the past 22 years. Ross has always put others before himself and has
been a constant support for his family and friends. The way he treats others and
conducts himself in life is something we can all learn from. He has been a valued
person I could confide in who has always been fair minded and trustworthy, and
because of these values my wife and I named him godfather of our son. He has been a
great source of guidance for our son who is now 19 years old. Ross has been
instrumental in his life and has taken an active part in shaping him into adulthood.

When it comes to being a husband and father Ross is without a doubt a great family
man, always putting his family ahead of his personal needs. He is an active member of
his children’s sports teams and also volunteers as an unpaid coach on more than one
team. I have witnessed his work with these teams personally and can say I would be
proud to have him as my son’s coach, mentor, and role model.

In the 28 years I have known Ross words that immediately come to my mind when his
name is brought up are integrity, loyalty, empathetic, devoted, and considerate. He is
deeply adored by his wife and children and it’s clearly evident when they are viewed
together.

Respectfully,



Robert J Le Page Jr.
Mt. Hope High School
B.A. 1989 S.M.U
M. Ed. 2000 F.S.U
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Dear Judge Sorokin,

My name is Craig DeGiacomo and I am writing to you today on behalf of Ross McLellan. I am
not writing to discuss the facts of Ross’s case but to provide my insight into Ross as a former co-
worker and more importantly as a friend.

A little about myself...I am 46 years old and I’ve lived in Marshfield MA for the past 18 years
with my wife of 20 years and our three children who are 17, 15 and 13 years old. I worked at
State Street from 1994 to 2011 then left for 7 years to work at Pioneer Investments and recently
rejoined State Street in May of this year.

I have known Ross for about 20 plus years starting when we worked together at State Street.
Although we worked in different divisions, myself at State Street Global Advisors and Ross in
Global Markets, as our careers advanced we got to know one another better working on mutual
client relationships, doing many joint meetings and even traveling quite a bit together to visit
clients. In my 24 plus years in the industry I haven’t met or worked with another individual with
more professional integrity, intelligence, and client focus than Ross. Simply put Ross put the
clients’ needs first, always had their best interests in mind, and was very effective in working
with clients in creating real solutions for their needs. I could poll all of the mutual clients we
worked on together and they would all echo those comments. In fact many have reached out to
me directly over the years to check in on Ross and wish him the best. Ross without a doubt
created deep, long-lasting, and trustworthy relationships with his clients.

More importantly to me than the great professional relationship I have with Ross is the better
personal friendship that has developed over the years. Ross and I have spent time together with
our families, had dinners with spouses and enjoyed our favorite activity golf. I have come to
know a man that puts his family first. He is a great father to his four children. He is very
involved their activities, helps coach their sports and he is very involved in the community of
Hingham where they live. He is also a devoted husband to his wife Lisa. He is always putting the
kids and Lisa first.

Finally, there is an old saying that you really get to know a man from spending time on a golf
course with him. I can tell you from my time with Ross I’ve been lucky enough to get to know a
true friend. He is someone whom I have been able to get both personal and professional advice
from, someone who would do anything for me without asking why, and finally someone whom I
would trust with anything—knowing he would do what he felt was right. Ross is a good man and
an even better father, husband and, friend.

Thank you for your time and best regards,



Craig DeGiacomo
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 August 30, 2018



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  The Honorable Leo T. Sorokin
  United States District Court
 john Joseph Moakley Courthouse
 1 Courthouse Way
 Boston, MA 02210

 RE:    Ross Mclellan

 Ijoined State Street several months after Ross Mclellan in 1999. The position I held was as office
 manager/ executive assistant to Nick Bonn. This was an extremely explosive and exciting period
 in financial services. Specifically in the Broker/Dealer, Equities Trading and Transition
 Management business lines that Nick established for State Street. One of the first directives I
 received from Nick when I joined the company was to, take care of Ross - he is my protege".
                                                              11




Ross was 27 years old and one of the hardest working young men I had ever encountered. He.
would be working side by side with the support staff late into the evening printing, collating and
binding Transition Management presentations that he would be presenting to clients across the
globe. Ross's only fault was his inability to accept or ask for help. This is when I would step in
and tell him to go home - we got this".
                           11




I had the privilege to assist him with client meetings in various locations throughout the U.S. I
witnessed his eloquence, inspiration and brilliance whether he was presenting to CEO's of large
corporations or entry level operations staff at Town Hall meetings. As State Street Global
Markets grew our responsibilities and roles within the division expanded. It was amazing to
watch as his career advanced, he married andflourished as a husband and father.

We supported each other as he and Lisa conquered obstacles conceiving their first child and my
husband was diagnosed with cancer. Ross's compassion and loyalty never wavered. He is a
brilliant and honorable man that I have been blessed to call my friend.

Warmest regard�


                     �
Carpionato Croup, LLC
Regional Property Management
1000 Chapel View Boulevard, Suite 128
Cranston, Rhode Island 02920
Phone: 401.944.9909
DCqsali@cnrpionntogro11p.com / �rpmndmin@carpionatogroup.con


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                    1000 Chapel View Boulevard, Suite 128 Cranston   I Rhode Island I 02920
                                             Phone 401.944.9909
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                September 18, 2018

                The Honorable Leo T. Sorokin
                United States District Court
                John Joseph Moakley Courthouse
                1 Courthouse Way
                Boston, MA 02210

                RE: Ross McLellan

                My name is Donald Payne and I am writing with respect to my relationship
                with Ross McLellan. I met Ross when I was working at the Massachusetts
                Pension Reserves Investment Management Board (PRIM) which is responsible
                for the pensions of state teachers, employees, as well as the majority of cities
                and towns throughout the Commonwealth. I worked there for 11 years as a risk
                management officer and currently the Chief Operating Office for iCash. I got
                to know Ross while I was an employee of PRIM through his work at Harbor
                Analytics.

                The PRIM staff is responsible for all of the investments within the multiple
                Funds overseen by the PRIM board. Ross was introduced to us from a
                competitor of State Street’s given his reputation in the industry. This person
                indicated that he would be able to save us money in operating our plan. After
                multiple introductory meetings we decided to give his firm a chance for a trial
                period which he performed for free to the PRIM board. Harbor Analytics began
                analyzing all of our investment managers trading of equities and foreign
                exchange in addition to acting as a consultant to staff when the need for
                transition management arose. We were extremely happy with the results of the
                free trial period so we hired Harbor Analytics on retainer in early 2015. We
                made this decision as Harbor became an invaluable part of our management
                oversight process that enabled us to measure and manage our transition costs
                that had been opaque for many years. The small fee we paid Harbor was
                insignificant when compared to the millions in transaction costs we were saving
                the plan.

                While the savings to the PRIM plan was significant, Ross also provided unique
                insight into the workings of broker dealers, transition managers and investment
                managers that enabled us to better serve our constituents. This was NOT part of
                the relationship between PRIM and Harbor Analytics but Ross never refused to
                help us in any manner even if it required hours more of his time. The
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                additional uncompensated work resulted in better returns for our plan that
                continued to compound into the future.

                I have no insight to the charges against Ross nor offer any opinion on them. I
                wanted to demonstrate his value to the public pension sector and hope for
                leniency for him.

                                                                      Regards,


                                                                      Donald Payne
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DOUGLAS GAY




6/29/2018

Dir S ir:

Thank you for taking a moment to consider this letter of reference for Ross McLellan. We have
known Ross and his family for over 15 years and consider our friends an integral part of this
close knit community. To say that Ross is a good neighbor is an understatement. He is the
person who is actively volunteering in the community, bringing the neighborhood children
together for games, and having the impromptu barbeque. On many occasions, I have
witnessed Ross lead by example through acts of kindness and sincere generosity, always
performed with his infectious smile. Ross and his family live their lives by the Golden Rule.

I’d like to share a personal experience to be considered as a representative example of Ross’
depth of character. Upon hearing of my being out of work, Ross quietly pulled me aside and
asked me to join him for lunch. I had been looking for work for a number of months and the
stress showed. We met and went through a list contacts that Ross had prepared as a
potential networking group to accelerate my return to gainful employment. I didn’t ask for
this help, Ross did it on his own, he gave me resources and confidence to succeed. This
selfless act is the norm for Ross and representative of his good heart.

Ross and his family are important to our community, they are counted on for support and
guidance and a pleasure to know and love.

Sincerely,




Dou gl as G ay
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 The Honorable Leo T. Sorokin
 United States District Court
 John Joseph Moakley Courthouse
 1 Courthouse Way
 Boston, MA 02210

 RE: Ross Mclellan

Greetings,
 I would like to introduce myself. My name is Julia Whitney. I am a Hingham mom
of three children. My middle chiid islll, an eighth grader. -started playing
hockey when he was in third grade, which is late for Hingham status. When ..
was in fifth grade we were introduced to Ross Mclellan as one of the coaches for
-hockey team. -is not a large child, and having started late in hockey was
timid and impressionable on the ice and at the rink. Ross was a dedicated and a
nurturing role model to Ill    Ross would always greet .with a huge smile and
some sort of an uplifting motto. Before you knew it�as carrying his own
hockey bag and tying his own skates. Ross provided those boys with confidence,
independence, and encouragement. �called that team the "Dream Team."
One would think that name would reflect a Champion team, but this team came
in seventh in a tournament with smiles, pride, and a sense of accomplishment .
Ross gave my son and his teammates a memory and experience that is a staple in
their path of growing up .• and his teammates learned that the goal is to play
the sport with great effort, support your teammates, and never give up until the
game is finished. Those boys felt like champs, and learned a valuable lesson.
Ross was at every practice, game, and tournament. Ross reflected true team
spirit, and respected the team on every level.
I have spent time with Ross and his family. He is a hands on Dad being present at
every sporting or school event. Ross and his wife have brought up well
mannered, behaved children. It is always a pleasure to see Ross and his family.
Ross holds a special place in our life, he gave my son a chance that could have
turned o       amafcally different for him. We will never forget Ross for that.
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                The Honorable Leo T. Sorokin
                   United States District Court
                   John Joseph Moakley Courthouse
                   1 Courthouse Way
                   Boston, MA 02210

            RE: Ross McLellan

                   My name is Kevin Morris Jr, I’m 24 years old and am currently a young professional in
            software sales. I’ve been a neighbor to Ross McLellan for roughly 15 years. Growing up in a
            small dead-end neighborhood there were few people to influence my life the way that Ross
            has.

            Our relationship started when I was a young annoying 8 years old that only wanted to play
            sports. At the time Ross hadn’t had any kids of his own yet. He spent time with me and my
            younger brother playing anything from baseball, basketball, or throwing the football in the
            yard. After school, my brother and I would wait by the window to see Ross’s car pull into his
            driveway. We’d then run over and ask if he’d come play sports with us. Looking back on it, he
            was obviously exhausted after long work days, but he never showed it.

            As the years went on, our bond grew closer. He took us to some of our first professional
            sporting events which included Celtics, Bruins & Red Sox games. As infatuated as we were with
            sports, he continued to preach the importance of academics.

            As we continued to grow up my brother and I became star athletes in town, but Ross continued
            to remind us the importance of academics. He’d come to the Hingham High basketball &
            lacrosse games to support us while reminding us that we had to put school first and sport
            seconds. Although at the time I didn’t believe him, he would remind us that the odds of going
            pro in Basketball, lacrosse, or football were extremely unlikely and that an education would last
            you forever. No one can take away your knowledge. Knowledge is power.

            I believe his words and guidance paved the way to my future. Both my brother and I went on to
            become NCAA student athletes but more importantly both graduated on time. I no longer get
            to play sports competitively, but I continue to learn every single day.

            Ross is more than just the fun neighbor that would play sports with us. He is a coach, neighbor,
            friend, & mentor that I’ve had the good fortune of spending close to 15 with. He’s helped mold
            myself, brother, and sister into student athletes and positive members of society.
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The Honorable Leo T. Sorokin
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 02210

RE: Ross McLellan

My husband and I have known Ross McLellan for over 10 years. His son and our
son have been close friends since Kindergarten. Ross and his family have been like a
second family to my son throughout Elementary School. During the years, we have
known Ross, it is clear he is very dedicated to his family and our community. Time
spent away from his family will be very difficult for all involved because they are
such a tight knit family.

Ross is an enthusiastic leader who has volunteered countless hours to our
community sports programs. With patience and an ability to explain and
demonstrate strategies clearly he drew out the very best in our kids, who in turn
look up to him. Ross is always either coaching or on the sidelines with a smile and
motivating the kids to do their best He is always supportive, responsible and
proactive. Ross has given tirelessly to help make our community and children
better. Ross is an integral part of not only all four of his children's lives but so many
more.

It is an honor to have such a wonderful family friend and role model in Ross
Mclellan.

Best,     • /.    ,1   ,
7V/cu.lUL �G�
��
Maura & Justin Silverio
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                               not to say anything, but he unsolicitedly took the time to stick out his neck to
                               defend my son which was greatly appreciated.

                               In conclusion, Ross is a compassionate father, a person that gives his time back to
                               the community making him a highly respected individual within our town and I am
                               proud to call him my friend.


                               Sincerely,




                               Michael Cummings




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The Honorable Leo T. Sorokin                                        August 6, 2018
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 02210

Re: Ross Mclellan


Your Honor,


I have had the privilege of knowing my cousin-in-law Ross for over 20 years. Ross is my first
cousin's (Lisa) husband. I grew up having Sunday dinners with Lisa all through my childhood;
therefore she is like a sister to me. I've always looked up to my cousin Lisa and admired her ability
to be an amazing judge of character and surround herself around sincere, intelligent and most
importantly, loyal, individuals. When Lisa introduced Ross to our protective Italian family it was
easy to see that he encompassed all of these qualities.

 I can honestly say that Ross has been there for me as a cousin and a friend for as long as I can
remember. Through my graduate school years at Northeastern University and during my
fellowship year, Ross and Lisa took care of me. They made sure I always had family to be around
and a house to go to for family dinners or just for a break from my challenging studies. Ross,
alongside my father, helped me move from each of my apartments and I moved to a different
apartment almost every year for 4 years with A LOT of stuff! I've always admired Ross's intellect
and devotion to not only his immediate family but also his extended family. I admire him as a
parent, a husband, a son-in-law and a cousin. He is not only there for his own children but he has
always been there for me when I needed a helping hand and for our family as a whole.

I am now fortunate to be in the medical field for over 13 years and have encountered and treated
many patients with traumatic brain injuries and tragic spinal cord injuries, one being my own god­
father (Ross's father-in-law) who suffered a life changing malignant tumor on his spinal cord,
leaving him partially paralyzed with continued weakness and ongoing medical and life challenges. I
have seen firsthand from a family perspective the effect this has had on our family. I have also
witnessed Ross's devotion to his father-in-law and all that he has done to be there by his side over
these difficult years. Ross has helped his father-in-law and mother-in-law out both physically and
emotionally. Ross and Lisa have been an essential part of my god-father's recovery in ways
unimaginable. Ross's actions and words through these difficult years exemplify his devotion to his
family and his overall character.

Above I've listed only a few of the many ways Ross is a wonderful, caring and honest asset to our
family. My cousin Ross not only continues to demonstrate his devotion to our family by supporting
my godfather (his father-in-law) but by giving both me and my husband sound advice on how to
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manage our twins. We feel blessed to have Ross in our lives and know we can always count on him
being there whenever he is needed.

Sincerely,


Rena lellimo
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                                                                   August 28, 2018


 The Honorable Leo T. Sorokin
 United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 0221 O


RE: Ross Mclellan


To the Honorable Leo T. Sorokin,


My name is Ron Sherwood and I have known Ross Mclellan for 25 years in both a professional
and personal capacity. Ross was my client for many years and helped to mentor some of my
junior people. His help was invaluable and many of them have gone on to lead tremendously
successful careers. I believe Ross had a very positive impad on their professional lives.. He
has always been there when I needed help throughout my career. I could count on the fact that
if he said he was going to do something, he followed through.


On a personal note I live in Hingham, along with Ross and his wife. It is clear they are raising
four great kids. Ross is deeply involved in their lives, and when you meet them, you know the
kids have teamed the importance of manners and respect. As a coach and town volunteer, we
all wish there were more kids like thisf


I have never beat Ross in a game of golf and have always walked away feleing like I won the
day. Ross is a great guy and I am proud to have him as a friend.


                                                                   Respectfully,



                                                                   ��
                                                                    Ron Sherwood
                                                                   Vice President, Sales
                                                                    Axis Technology, LLC

Axis Technology, LLC            50 Milk street, Boston, MA 02110                   Page 1 of 1
                                http.//www.axistechnologyllc.com
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August 29, 2018

The Honorable Leo T. Sorokin
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 02210


Dear Judge Sorokin,

As October 10th is approaching, I am writing to you on behalf of Ross McLellan and
his family. I have no doubt that you have received numerous letters attesting to
Ross’s character, strong commitment to his family and his ties to his community. I
can easily substantiate those attributes as well, however, the focus of my letter will
be from the perspective of his wife, Lisa, and their four children:
and          .

Lisa and I have been friends for nearly 30 years having met during our first year at
Bucknell University where we lived on the same dormitory floor. Since then, we
have seen each other get married, welcomed children together, celebrated successes
and experienced losses.

And yet, thirty years later, despite sharing numerous milestones and life events, Lisa
continues to amaze me with her unwavering support, unparalleled work ethic, and
supreme devotion to Ross and their children.

As a supportive parent with a full-time career, Lisa always manages to find time to
attend a child’s sporting or school event, help with homework and even volunteer at
their schools. After struggling for many years to have a family, Lisa and Ross are
blessed to have four children who are surrounded with love, attention and
encouragement.

Given Ross’ situation, Lisa is now the sole financial provider for her family, working
a full-time job with long hours while raising four children who are well cared for
and happy. Never one to complain, Lisa is one of the hardest-working people I
know. After a day of editing, her attention shifts to providing a home-cooked,
nutritious dinner and spending time with her family. Frequently, she returns to
work after the children’s bedtime.

Lastly, Lisa and Ross share one of the most loving, supportive relationships I know.
They have endured many hardships to have the family they do today. Lisa and
Ross are true partners and a prolonged absence would dramatically alter the
composition of their family. As a parent of a teenage child, I appreciate how
impactful these years are, and       and      (ages 13 and 11), especially, need Ross
during these formative years. These are the years that shape adolescents into
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responsible adults, and I know                  and        will benefit immensely
from having both Ross and Lisa living in the same house.

Thank you for your consideration. As this letter provides a small glimpse into my
support of Ross and my relationship with the McLellan family, please feel free to
contact me at               should you need any additional information or have
any questions.


Sincerely,




Vanessa Day
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